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.. men ev ___,~§_Z___'é{,_q
IN THE UNITED sTATEs DIsTRIcT coURT
FoR THE wEsTERN DIsTRIcT oF TENNESSEE 05 JU _
wEsTERN DIvIsIoN L 22 FH 2' 00

 

UNITED S'I‘A'I'ES OF AMERICA
Plaintiff,

criminal No. 9:- 924le Ml

(30-Day Continuance)

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF 'I'IME

 

As indicated. by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the August, 2005,
criminal rotation calendar, but is now RESET for report at §;QQ
a.m. on Fridav. Auqust 26, 2005, with trial to take place on the
September, 2005 rotation calendar with the time excluded under the
Speedy Trial Act through September 16, 2005. Agreed in open court

at report date this 22m'day of July, 2005.

This document entered on the docket sheet in compliance 1
With Rule 55 and/or 32(b) FRCrP on :Z "‘;2,:§'@§ /Cj/

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SO ORDERED this 22nd day of July, 2005.

mcqu

JON HIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

 

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Assistant United States Attorney

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Counsel for Defendant(s)

   

UNITED sTATE DRISTIC COURT - WTERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:05-CR-20238 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

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Honorable Jon McCalla
US DISTRICT COURT

